Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 1 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 2 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 3 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 4 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 5 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 6 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 7 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 8 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 9 of
                                     10
Case No. 1:16-cv-01301-PAB-GPG Document 94-3 filed 01/06/17 USDC Colorado pg 10
                                    of 10
